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     under Confirmed Chapter 11 Liquidating Plan
12

13
                      UNITED STATES BANKRUPTCY COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15
                                 NORTHERN DIVISION
16

17    In re                             )            BK No. 9:16-bk-11912-DS
                                        )
18    CHANNEL TECHNOLOGIES,             )            Chapter 7
      LLC,                              )
19                                      )            Adv. No.
                         DEBTOR.        )
20                                      )            COMPLAINT TO: (1) AVOID AND
                                        )            RECOVER UNAUTHORIZED
21    CORPORATE RECOVERY                )            POST-PETITION TRANSFERS
      ASSOCIATES, LLC, as Liquidating )              PURSUANT TO 11 U.S.C. § 549(a);
22    Trustee appointed under the       )            (2) AVOID AND RECOVER
      confirmed Chapter 11 Plan of      )            FRAUDULENT TRANSFERS
23    Channel Technologies Group, LLC., )            PURSUANT TO 11 U.S.C.
                                        )            §544(b)(1) and CAL.CIV.CODE
24                       Plaintiff,     )            3439.05
                                        )
25    vs.                               )
                                        )            HEARING TO BE SET
26    GRANT THORNTON, LLP,              )
                                        )
27                       Defendant.     )
                                        )
28
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 1         Plaintiff and Liquidating Trustee, Corporate Recovery Associates, LLC,
 2   alleges as follows:
 3                              JURISDICTION AND VENUE
 4         1.     This court has jurisdiction over this adversary proceeding pursuant to
 5   28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(2)(A), (H) and (O).
 6         2.     Debtor, Channel Technologies Group, LLC, (“CTG”) filed a Chapter
 7   11 bankruptcy petition on October 14, 2016 (Case No. 9:16-bk-11912-DS).
 8         3.     This is a core proceeding in the above-referenced Chapter 11 case
 9   currently pending before this court.
10         4.     This court is the proper venue for this adversary proceeding pursuant
11   to 28 U.S.C. § 1409(a).
12                                     THE PARTIES
13         5.     Plaintiff, Corporate Recovery Associates, LLC (“CRA”), is a
14   California limited liability company and is the Liquidating Trustee duly appointed
15   under the Chapter 11 Liquidating Plan (“Plan”) of CTG, which was confirmed by
16   order entered March 2, 2018 (“Confirmation Order”).
17         6.     The Liquidating Trustee was appointed as of the Effective Date of
18   the Plan, April 2, 2018.
19         7.     Pursuant to the Confirmation Order and the Plan, the Liquidating
20   Trustee was granted requisite standing and authority to prosecute and pursue
21   causes of action held by the Debtor and Debtor’s bankruptcy estate.
22         8.     Defendant, Grant Thornton, LLP is an Illinois limited liability
23   partnership, with its principal place of business in Los Angeles, California.
24                               GENERAL ALLEGATIONS
25         9.     CRA is informed and believes, and based thereon alleges, that CTG
26   made multiple post-petition payments to Grant Thornton, as follows:
27                a)       $3,562.00 on February 8, 2017;
28                b)       $26,000.00 on March 2, 2017;
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 1                  c)    $20,800.00 on March 15, 2017;
 2                  d)    $20,800 on April 20, 2017; and
 3                  e)    $51,220.00 on April 26, 2017.
 4   See Exhibit A attached to the Complaint.
 5         10.      CRA is informed and believes, and based thereon alleges, that Grant
 6   Thornton was not, and never has been, employed and authorized to perform
 7   services for CTG pursuant to 11 U.S.C. § 327, and to be compensated for such
 8   services pursuant to 11 U.S.C. § 330.
 9         11.      CRA is informed and believes, and based thereon alleges, that some,
10   it not all, of the post-petition payments CTG made to Grant Thornton were
11   payments made for services performed for non-debtor, third party entities.
12         12.      CRA is informed and believes, and based thereon alleges, that Grant
13   Thornton was not, and never has been, authorized either by an order of this Court
14   or any provision of the Bankruptcy Code to receive payment from CTG for
15   services Grant Thornton performed for any non-debtor third party.
16          FIRST CLAIM FOR RELIEF – TO AVOID AND RECOVER
17                  UNAUTHORIZED POST-PETITION TRANSFERS
18                             PURSUANT TO 11 U.S.C. § 549
19         13.      CRA incorporates paragraphs 1 through 12 of the complaint by
20   reference.
21         14.      CRA is informed and believes, and based thereon alleges, that
22   CTG’s post-petition payments to Grant Thornton totaling $122,382 were not
23   authorized under any section of the bankruptcy code or any order of this Court.
24         15.      Grant Thornton was the initial transferee/recipient of the payments.
25         16.      The unauthorized post-petition payments made by CTG to Grant
26   Thornton are voidable pursuant to 11 U.S.C. § 549(a), and recoverable by the
27   Liquidating Trustee for the benefit of creditors in this case pursuant to 11 U.S.C.
28   § 550(a)(1).
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 1                SECOND CLAIM FOR RELIEF – TO AVOID AND RECOVER
 2   FRAUDULENT CONVEYANCE PURSUANT TO 11 U.S.C. §544(b)(1) and
 3                               CAL. CIV. CODE § 3439.05
 4           17.    CRA incorporates paragraphs 1 through 16 of the complaint by
 5   reference.
 6           18.    CRA is informed and believes, and based thereon alleges, that CTG
 7   received less than reasonably equivalent value in exchange for any payments
 8   made to Grant Thornton that were made for services performed for the benefit of
 9   a non-debtor third party.
10           19.    The Trustee is informed and believes, and based thereon alleges, that
11   CTG was insolvent at the time the post-petition payments to Grant Thornton were
12   made.
13           20.    There were multiple creditors asserting unsecured claims against the
14   estate of CTG at the time of CTG’s transfers to Grant Thornton. Those creditors
15   are listed in CTG’s bankruptcy schedules E/F.
16           21.    Grant Thornton was the initial transferee/recipient of the payments.
17           22.    CTG’s payments to Grant Thornton are voidable pursuant to 11
18   U.S.C. § 544(b)(1) and Cal. Civ. Code § 3439.05, and recoverable by the Trustee
19   for the benefit of this estate pursuant to 11 U.S.C. §550(a)(1).
20           Wherefore, the Trustee prays for a judgment as follows:
21           A.     On the First and Second Claims for Relief, a judgment avoiding the
22   post-petition payments made by CTG to Grant Thornton, and recovering the
23   payments, or the value of the payments, for the benefit of creditors of this case.
24           B.     For such other and further relief as this court deems just and proper.
25   ////
26   ////
27   ////
28
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Doc MOR # Period Covered                                Date       #
          February 1, 2017 -
222  5    February 28, 2017       Grant Thornton, LLP    2/8/2017 266 Tax Preparation   $ 3,562.00
          March 1, 2017 -
276  6    March 31, 2017          Grant Thornton, LLP    3/2/2017 315 Tax Preparation   $ 26,000.00
          March 1, 2017 -
276  6    March 31, 2017          Grant Thornton, LLP 3/15/2017 345 Tax Preparation     $ 20,800.00
          April 1, 2017 - April
315  6    30, 2017                Grant Thornton, LLP 4/20/2017 1041 Tax Fees           $ 20,800.00
          April 1, 2017 - April
315  6    30, 2017                Grant Thornton, LLP 4/26/2017 1062 Tax Fees           $ 51,220.00




                                                   EXHIBIT A - PAGE 6
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